Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 1 of 15 Pageid#: 16462




                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, JOHN DOE, and THOMAS
    BAKER,

                                   Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM

     v.

     JASON KESSLER, et al.,

                                   Defendants.



           STIPULATIONS OF FACT AND AUTHENTICATION OF DOCUMENTS

          Pursuant to Plaintiffs’ request, and with the agreement of Defendant James A. Fields Jr.

   though his counsel, Defendant Fields hereby stipulates that the facts described below are true and

   accurate, and that the documents identified below are authentic pursuant to Rule 901 of the Federal

   Rules of Evidence. Defendant Fields may object to the admission of any such documents into

   evidence on grounds other than authenticity, including relevance and materiality.

          The following facts are stipulated to be true and accurate, and the following documents are

   stipulated to be authentic:

          1.      DOJ00007916 through DOJ00008450 are true and accurate copies of Instagram

   business records for Defendant Fields’ Instagram account “thebigboss1337.”

          2.      Defendant Fields was the only known user of the Instagram account

   “thebigboss1337.”
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 2 of 15 Pageid#: 16463




          3.     DOJ00007923 through DOJ00007983 are true and accurate copies of Instagram

   business records containing photographs and text posted by the Instagram account

   “thebigboss1337” with corresponding metadata.

          4.     DOJ00007983 through DOJ00007991 are true and accurate copies of Instagram

   business records containing Profile Picture comments posted by the Instagram account

   “thebigboss1337” with corresponding metadata.

          5.     DOJ00007991 through DOJ00008089 are true and accurate copies of Instagram

   business records containing Direct Shares sent by the Instagram account “thebigboss1337” with

   corresponding metadata.

          6.     Defendant Fields was the only known user of the Twitter account @azrielLevy.

          7.     Defendant Fields was the only known user of the email address

   goyundercover@mail.com.

          8.     DOJ00000054 is a true and accurate copy of a Twitter business record identifying

   the IP address used to create the Twitter account “@azrielLevy.”

          9.     DOJ00000063 is a true and accurate copy of a Twitter business record containing

   the profile “bio” for Defendant Fields’s Twitter account “@azrielLevy.”

          10.    DOJ00000078 is a true and accurate copy of a Twitter business record containing

   basic subscriber information for Defendant Fields’s Twitter account “@azrielLevy.”

          11.    DOJ00001823 through DOJ00001853 are true and accurate copies of Twitter

   business records containing tweets sent by the Twitter account “@azrielLevy.”

          12.    DOJ00000050 is a true and accurate copy of a Twitter business record identifying

   account numbers of Twitter accounts that followed Defendant Fields’s Twitter account

   “@azrielLevy.”



                                                  2
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 3 of 15 Pageid#: 16464




          13.    DOJ00000077 is a true and accurate copy of a Twitter business record containing

   account numbers of Twitter accounts that followed the Twitter account “@azrielLevy.”

          14.    DOJ00000107 and DOJ00002221 are true and accurate copies of Twitter business

   records containing the profile image and header image for Defendant Fields’s Twitter account

   “@azrielLevy.”

          15.    Defendant Fields was the only known user of the Twitter account

   “@TheRealGiantDad.”

          16.    DOJ00000056 is a true and accurate copy of a Twitter business record identifying

   the IP address used to create the Twitter account “@TheRealGiantDad.”

          17.    DOJ00000065 is a true and accurate copy of a Twitter business record containing

   the profile “bio” for Defendant Fields’s Twitter account “@TheRealGiantDad.”

          18.    DOJ00000080 is a true and accurate copy of a Twitter business record identifying

   the basic subscriber information for Defendant Fields’s Twitter account “@TheRealGiantDad.”

          19.    DOJ00005615 through DOJ00005916 are true and accurate copies of Twitter

   business records containing tweets sent by the Twitter account “@TheRealGiantDad.”

          20.    DOJ00000219 through DOJ0000226 are true and accurate copies of Twitter

   business records containing direct messages sent to and received by the Twitter account

   “@TheRealGiantDad.” Direct messages with a “sender id” of 836744285038981120 were sent

   from the Twitter account “@TheRealGiantDad.” Direct messages with a “recipient id” of

   836744285038981120 were received at the Twitter account “@TheRealGiantDad.”

          21.    DOJ00000098 through DOJ00000100 are true and accurate copies of Twitter

   business records identifying account numbers of Twitter accounts that followed the Twitter

   account “@TheRealGiantDad.”



                                                  3
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 4 of 15 Pageid#: 16465




          22.    DOJ00000095 through DOJ00000097 are true and accurate copies of Twitter

   business records identifying account numbers of Twitter accounts that followed the Twitter

   account “@TheRealGiantDad.”

          23.    DOJ00000122 and DOJ00000721 are true and accurate copies of Twitter business

   records containing the profile image and header image for Defendant Fields’s Twitter account

   “@TheRealGiantDad.”

          24.    DOJ00000327, DOJ00000405, DOJ00000687, DOJ00000698, DOJ00000700,

   DOJ00000822, DOJ00001203, DOJ00001353, DOJ00001430, DOJ00001576, DOJ00001758,

   DOJ00001762, DOJ00001893, DOJ00002181, DOJ00002350, DOJ00002818, DOJ00002958,

   DOJ00002970, DOJ00003096, DOJ00003145, DOJ00003146, DOJ00003532, DOJ00003756,

   DOJ00003761, DOJ00003961, DOJ00004146, DOJ00004613, DOJ00004614, DOJ00004630,

   DOJ00005080, DOJ00005088, DOJ00005245, DOJ00005277, DOJ00005312, DOJ00005365,

   DOJ00005366, DOJ00005417, DOJ00005525, DOJ00005567, DOJ00005582, DOJ00005602,

   DOJ00006258, DOJ00006935, DOJ00006937, DOJ00000330, and DOJ00001548 are true and

   accurate copies of Twitter business records containing photographs, gifs, and videos tweeted by

   the Twitter account “@TheRealGiantDad.”

          25.    DOJ00000812, DOJ00000819, DOJ00000821, DOJ00001122, DOJ00001232,

   DOJ00001447, DOJ00001577, DOJ00002161, DOJ00003732, DOJ00003733, DOJ00003763,

   DOJ00005077, DOJ00005345, DOJ00005411, and DOJ00005611 are true and accurate copies

   of Twitter business records containing photographs, gifs, and videos sent via direct message

   from the Twitter account “@TheRealGiantDad.”

          26.    Defendant Fields was the only known user of the Twitter account

   “@TheNewGiantDad.”



                                                   4
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 5 of 15 Pageid#: 16466




          27.     DOJ00000053 is a true and accurate copy of a Twitter business record identifying

   the IP address used to create the account “@TheNewGiantDad.”

          28.     DOJ00000051 is a true and accurate copy of a Twitter business record containing

   the profile “bio” for Defendant Fields’s Twitter account “@TheNewGiantDad.”

          29.     DOJ00000079 is a true and accurate copy of a Twitter business record identifying

   the basic subscriber information for Defendant Fields’s Twitter account “@TheNewGiantDad.”

          30.     DOJ00000830 through DOJ00000853 are true and accurate copies of Twitter

   business records identifying the IP addresses used to access the Twitter account

   “@TheNewGiantDad.”

          31.     DOJ00006273 through DOJ00006807 are true and accurate copies of Twitter

   business records containing tweets sent from the Twitter account “@TheNewGiantDad.”

          32.     DOJ00005089 through DOJ00005208 are true and accurate copies of Twitter

   business records containing direct messages sent to and received by the Twitter account

   “@TheNewGiantDad.” Direct messages with a “sender id” of 844482580896514053 were sent

   from the Twitter account “@TheNewGiantDad.” Direct messages with a “recipient id” of

   844482580896514053 were received at the Twitter account “@TheNewGiantDad.”

          33.     DOJ00000203 through DOJ00000214 are true and accurate copies of Twitter

   business records identifying account numbers of Twitter accounts that followed the Twitter

   account “@TheNewGiantDad.”

          34.     DOJ00000153 through DOJ00000158 are true and accurate copies of Twitter

   business records identifying account numbers of Twitter accounts that followed the Twitter

   account “@TheNewGiantDad.”




                                                   5
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 6 of 15 Pageid#: 16467




          35.    DOJ00000104 and DOJ00000766 are true and accurate copies of Twitter business

   records containing the profile image and header image for Defendant Fields’s Twitter account

   “@TheNewGiantDad.”

          36.    DOJ00000281, DOJ00000369, DOJ00000585, DOJ00000741, DOJ00000857,

   DOJ00000870, DOJ00000882, DOJ00000955, DOJ00001021, DOJ00001224, DOJ00001225,

   DOJ00001282, DOJ00001629, DOJ00001737, DOJ00002026, DOJ00002294, DOJ00002357,

   DOJ00002513, DOJ00002565, DOJ00002566, DOJ00002574, DOJ00002620, DOJ00002808,

   DOJ00002809, DOJ00002813, DOJ00002936, DOJ00003071, DOJ00003095, DOJ00003097,

   DOJ00003182, DOJ00003210, DOJ00003221, DOJ00003222, DOJ00003223, DOJ00003268,

   DOJ00003375, DOJ00003412, DOJ00003427, DOJ00003457, DOJ00003458, DOJ00003484,

   DOJ00003578, DOJ00003695, DOJ00003735, DOJ00003741, DOJ00003764, DOJ00003765,

   DOJ00003776, DOJ00003778, DOJ00003855, DOJ00003856, DOJ00003887, DOJ00003929,

   DOJ00003936, DOJ00004000, DOJ00004006, DOJ00004009, DOJ00004013, DOJ00004145,

   DOJ00004147, DOJ00004148, DOJ00004165, DOJ00004192, DOJ00004193, DOJ00004198,

   DOJ00004309, DOJ00004310, DOJ00004429, DOJ00004575, DOJ00004710, DOJ00004736,

   DOJ00004787, DOJ00005079, DOJ00005268, DOJ00005311, DOJ00005314, DOJ00005333,

   DOJ00005343, DOJ00005344, DOJ00005358, DOJ00005415, DOJ00005416, DOJ00005432,

   DOJ00005438, DOJ00005493, DOJ00005598, DOJ00005599, DOJ00005600, DOJ00005605,

   DOJ00005609, DOJ00006163, DOJ00006164, DOJ00006211, DOJ00006844, DOJ00006919,

   DOJ00006931, DOJ00006932, DOJ00006934, DOJ00006936, DOJ00006938, DOJ00006939,

   DOJ00006968, DOJ00001958, DOJ00003959, DOJ00004001, DOJ00004814, DOJ00005356,

   DOJ00005560, and DOJ00005610 are true and accurate copies of Twitter business records

   containing photographs, gifs, and videos tweeted by the Twitter account “@TheNewGiantDad.”



                                                  6
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 7 of 15 Pageid#: 16468




          37.    DOJ00000184, DOJ00000326, DOJ00000666, DOJ00000725, DOJ00000728,

   DOJ00000731, DOJ00000809, DOJ00000985, DOJ00001223, DOJ00001226, DOJ00001271,

   DOJ00001535, DOJ00001641, DOJ00001659, DOJ00002107, DOJ00002220, DOJ00002349,

   DOJ00002367, DOJ00002457, DOJ00002556, DOJ00002905, DOJ00003070, DOJ00003734,

   DOJ00003736, DOJ00003762, DOJ00003777, DOJ00004303, DOJ00004347, DOJ00004401,

   DOJ00004605, DOJ00004720, DOJ00005076, DOJ00005422, DOJ00005516, DOJ00005517,

   DOJ00005581, DOJ00005604, DOJ00005608, DOJ00006847, DOJ00000820, and

   DOJ00004574 are true and accurate copies of Twitter business records containing photographs,

   gifs, and videos sent via direct message from the Twitter account “@TheNewGiantDad.”

          38.    DOJ00000323, DOJ00000329, DOJ00000348, DOJ00000406, DOJ00000699,

   DOJ00002043, DOJ00002621, DOJ00002729, DOJ00003150, DOJ00003254, DOJ00003363,

   DOJ00003369, DOJ00003376, DOJ00003917, DOJ00003960, DOJ00004008, DOJ00004199,

   DOJ00004492, DOJ00005210, DOJ00005233, DOJ00005357, and DOJ00005603 are true and

   accurate copies of Twitter business records containing photographs, gifs, and videos received

   via direct message at the Twitter account “@TheNewGiantDad.”

          39.    Defendant Fields followed David Duke on Twitter.

          40.    Defendant Fields followed co-defendant Richard Spencer on Twitter.

          41.    Defendant Fields followed co-defendant Augustus Sol Invictus on Twitter.

          42.    Defendant Fiends followed co-defendant Michael Peinovich on Twitter.

          43.    Defendant Fields followed the Twitter account @AndrewQuackson.

          44.    DOJ00010957 through DOJ00017007 are true and accurate copies of Facebook

   business records for Defendant Fields’s Facebook account “Conscious Ovis Aries.”




                                                  7
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 8 of 15 Pageid#: 16469




          45.     Defendant Fields was the only known user of the Facebook account “Conscious

   Ovis Aries.”

          46.     DOJ00011203 through DOJ00011217 are true and accurate copies of Facebook

   business records containing the “Minifeed” of Defendant Fields’s Facebook account, “Conscious

   Ovis Aries.”

          47.     DOJ00011218 through DOJ00011526 are true and accurate copies of Facebook

   business records containing the “Activity Log” of Defendant Fields’s Facebook account,

   “Conscious Ovis Aries.”

          48.     DOJ00011890 through DOJ00012156 are true and accurate copies of Facebook

   business records containing “Unified Messages” sent to and received by the Facebook account,

   “Conscious Ovis Aires.” “Unified Messages” were sent from the Facebook account “Conscious

   Ovis Aries” where the “Author” is listed as “Conscious Ovis Aries (100000477990126).”

   “Unified Messages” were received at the Facebook account “Conscious Ovis Aries” where the

   “Author” is listed as another Facebook user.

          49.     DOJ00017008 is a true and accurate copy of a Samsung Extraction Report

   reflecting data extracted from Defendant Fields’s cell phone, including incoming and outgoing

   text messages, incoming and outgoing calls, photos, and internet searches.

          50.     DOJ00006977 is a true and accurate copy of a Cellebrite Extraction Report

   reflecting data extracted from Defendant Fields’s cell phone, including incoming and outgoing

   text messages, incoming and outgoing calls, photos, and internet searches.

          51.     Defendant Fields was the only known user of the email address

   volkeril@outlook.com.




                                                  8
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 9 of 15 Pageid#: 16470




          52.      DOJ00001079 is a true and accurate copy of an email from Discord sent the email

   address volkeril@outlook.com.

          53.      Defendant Fields was the only known user of a Discord account named

   “Volker9744.”

          54.      DOJ00006170 is a true and accurate copy of a Discord business record

   containing true and accurate the information related to the Discord account named

   “Volker9744.”

          55.      DOJ00000081 is a true and accurate copy of a picture saved on Defendant

   Fields’s home computer.

          56.      DOJ00000087 is a true and accurate copy of a picture saved on Defendant

   Fields’s home computer.

          57.      DOJ00000088 is a true and accurate copy of a picture saved on Defendant

   Fields’s home computer.

          58.      DOJ00000123 is a true and accurate copy of a picture saved on Defendant

   Fields’s home computer.

          59.      DOJ00000127 is a true and accurate copy of a picture saved on Defendant

   Fields’s home computer.

          60.      DOJ00000128 is a true and accurate copy of a picture saved on Defendant

   Fields’s home computer.

          61.      DOJ00000184 is a true and accurate copy of a picture saved on Defendant

   Fields’s home computer.

          62.      DOJ00000188 is a true and accurate copy of a picture saved on Defendant

   Fields’s home computer.



                                                  9
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 10 of 15 Pageid#:
                                  16471



        63.    DOJ00000248 is a true and accurate copy of a picture saved on Defendant

 Fields’s home computer.

        64.    DOJ00000285 is a true and accurate copy of a picture saved on Defendant

 Fields’s home computer.

        65.    DOJ00001353 is a true and accurate copy of a picture saved on Defendant

 Fields’s home computer.

        66.    DOJ00006918 is a true and accurate copy of a picture saved on Defendant

 Fields’s home computer.

        67.    DOJ00006942 is a true and accurate copy of a picture saved on Defendant

 Fields’s home computer.

        68.    DOJ00000520 is a true and accurate copy of a Google business record containing

 the profile information from Defendant Fields’s account with the account name

 “derschwarzesonne” and the username “Volker Krieger.”

        69.    DOJ00006192 is a true and accurate copy of a post by Defendant Fields from his

 Google account.

        70.    DOJ00010933 is a true and accurate copy of a picture saved to Defendant Fields’s

 Google account.

        71.    DOJ00010939 is a true and accurate copy of a picture saved to Defendant Fields’s

 Google account.

        72.    318cr1100000353 is a true and accurate photograph depicting Defendant Fields’s

 bedroom on August 13, 2017.

        73.    318cr1100001043 is a true and accurate video depicting Defendant Fields’s car on

 August 12, 2017.



                                               10
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 11 of 15 Pageid#:
                                  16472



        74.    City_00011613 is a true and accurate audio-recording of a telephone call

 involving Defendant Fields on February 12, 2018.

        75.    City_00011614 is a true and accurate audio-recording of a telephone call

 involving Defendant Fields on February 13, 2018.

        76.    City_00033058 is a true and accurate copy of a text message conversation

 between Defendant Fields and Samantha Bloom on August 11, 2017, excerpted from the

 Cellebrite Extraction Report of Defendant Fields’s phone.




                                               11
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 12 of 15 Pageid#:
                                  16473



 Dated: June 24, 2021                  Respectfully submitted,

                                       /s/ David L. Campbell
                                       David L. Hauck, Esquire (VSB# 20565)
                                       David L. Campbell, Esquire (VSB #75960)
                                       DUANE, HAUCK, GRAVATT &
                                       CAMPBELL
                                       100 West Franklin Street
                                       Richmond, Virginia 23220
                                       Telephone: 804-644-7400
                                       Facsimile: 804-303-8911
                                       dcampbell@dhdglaw.com
                                       Counsel for Defendant James A. Fields, Jr.


                                       /s/ David E. Mills
                                       David E. Mills (pro hac vice)
                                       Joshua M. Siegel (VSB 73416)
                                       Caitlin B. Munley (pro hac vice)
                                       Samantha A Strauss (pro hac vice)
                                       Alexandra Eber (pro hac vice)
                                       COOLEY LLP
                                       1299 Pennsylvania Avenue, NW
                                       Suite 700
                                       Washington, DC 20004
                                       Telephone: (202) 842-7800
                                       Fax: (202) 842-7899
                                       dmills@cooley.com
                                       jsiegel@cooley.com
                                       cmunley@cooley.com
                                       sastrauss@cooley.com
                                       aeber@cooley.com




                                     12
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 13 of 15 Pageid#:
                                  16474



 Of Counsel:

  Roberta A. Kaplan (pro hac vice)          Karen L. Dunn (pro hac vice)
  Julie E. Fink (pro hac vice)              William A. Isaacson (pro hac vice)
  Gabrielle E. Tenzer (pro hac vice)        Jessica E. Phillips (pro hac vice)
  Joshua A. Matz (pro hac vice)             PAUL WEISS RIFKIND WHARTON &
  Michael L. Bloch (pro hac vice)           GARRISON LLP
  Emily C. Cole (pro hac vice)              2001 K Street, NW
  Alexandra K. Conlon (pro hac vice)        Washington, DC 20006-1047
  Jonathan R. Kay (pro hac vice)            Telephone: (202) 223-7300
  Benjamin D. White (pro hac vice)          Fax: (202) 223-7420
  Yotam Barkai (pro hac vice)               kdunn@paulweiss.com
  KAPLAN HECKER & FINK, LLP                 wisaacson@paulweiss.com
  350 Fifth Avenue, Suite 7110              jphillips@paulweiss.com
  New York, NY 10118
  Telephone: (212) 763-0883                 Katherine M. Cheng (pro hac vice)
  rkaplan@kaplanhecker.com                  BOIES SCHILLER FLEXNER LLP
  jfink@kaplanhecker.com                    55 Hudson Yards, 20th Floor
  gtenzer@kaplanhecker.com                  New York, NY 10001
  jmatz@kaplanhecker.com                    Telephone: (212) 446-2300
  mbloch@kaplanhecker.com                   Fax: (212) 446-2350
  ecole@kaplanhecker.com                    kcheng@bsfllp.com
  aconlon@kaplanhecker.com
  jkay@kaplanhecker.com                     Robert T. Cahill (VSB 38562)
  bwhite@kaplanhecker.com                   COOLEY LLP
  ybarkai@kaplanhecker.com                  11951 Freedom Drive, 14th Floor
                                            Reston, VA 20190-5656
  J. Benjamin Rottenborn (VSB No. 84796)
                                            Telephone: (703) 456-8000
  Woods Rogers PLC
  10 South Jefferson Street, Suite 1400
                                            Fax: (703) 456-8100
  Roanoke, Va. 24011                        rcahill@cooley.com
  Tel: (540) 983-7600
  Fax: (540) 983-7711
  brottenborn@woodsrogers.com

  Alan Levine (pro hac vice)                Counsel for Plaintiffs
  Daniel P. Roy III (pro hac vice)
  Amanda L. Liverzani (pro hac vice)
  COOLEY LLP
  55 Hudson Yards
  New York, NY 10001
  Telephone: (212) 479-6260
  Fax: (212) 479-6275
  alevine@cooley.com
  droy@cooley.com
  aliverzani@cooley.com




                                           13
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 14 of 15 Pageid#:
                                  16475



                                        CERTIFICATE OF SERVICE

       I hereby certify that on June 24, 2021, I filed the foregoing with the Clerk of Court through
 the CM/ECF system, which will send a notice of electronic filing to:

  Justin Saunders Gravatt                               James E. Kolenich
  David L. Hauck                                        Kolenich Law Office
  David L. Campbell                                     9435 Waterstone Blvd. #140
  Duane, Hauck, Davis & Gravatt, P.C.                   Cincinnati, OH 45249
  100 West Franklin Street, Suite 100                   jek318@gmail.com
  Richmond, VA 23220
  jgravatt@dhdglaw.com                                  Bryan Jones
  dhauck@dhdglaw.com                                    106 W. South St., Suite 211
  dcampbell@dhdglaw.com                                 Charlottesville, VA 22902
                                                        bryan@bjoneslegal.com
  Counsel for Defendant James A. Fields, Jr.
                                                        Counsel for Defendants Michael Hill,
  W. Edward ReBrook                                     Michael Tubbs, and League of the South
  The ReBrook Law Office
  6013 Clerkenwell Court                                Elmer Woodard
  Burke, VA 22015                                       5661 US Hwy 29
  edward@rebrooklaw.com                                 Blairs, VA 24527
  rebrooklaw@gmail.com                                  isuecrooks@comcast.net

  Counsel for Defendants National Socialist Movement,   Counsel for Defendants Matthew Parrott,
  Nationalist Front and Jeff Schoep                     Traditionalist Worker Party, Jason Kessler, Nathan
                                                        Damigo, and Identity Europa, Inc. (Identity Evropa)



        I hereby certify that on June 24, 2021, I also served the foregoing upon following pro se
 defendants, via electronic mail, as follows:

  Matthew Heimbach                                      Vanguard America
  matthew.w.heimbach@gmail.com                          c/o Dillon Hopper
                                                        dillon_hopper@protonmail.com
  Richard Spencer
  richardbspencer@gmail.com                             Elliott Kline
  richardbspencer@icloud.com                            eli.f.mosley@gmail.com
                                                        deplorabletruth@gmail.com
  Robert Ray                                            eli.r.kline@gmail.com
  azzmador@gmail.com
Case 3:17-cv-00072-NKM-JCH Document 983 Filed 06/24/21 Page 15 of 15 Pageid#:
                                  16476



        I hereby certify that on June 24, 2021, I also served the foregoing upon following pro se
 defendant, via first class mail, as follows:

 Christopher Cantwell
 Christopher Cantwell 00991-509
 USP Marion
 U.S. Penitentiary
 P.O. Box 1000
 Marion, IL 62959

                                                     /s/ Joshua M. Siegel
                                                     Joshua M. Siegel (VSB 73416)

 245725153
